 1   BENJAMIN B. WAGNER
     United States Attorney
 2   PHILIP A. FERRARI
     Assistant United States Attorney
 3   501 I Street, Suite 10-100
     Sacramento, CA 95814
 4   Telephone: (916) 554-2700
     Facsimile: (916) 554-2900
 5

 6
     Attorneys for Plaintiff
 7   United States of America

 8
                                   IN THE UNITED STATES DISTRICT COURT
 9
                                        EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                             CASE NO. CR S 07-348 GEB
12
                                   Plaintiff,
13
                            v.                             AMENDED STIPULATION CONTINUING
                                                           STATUS CONFERENCE; [PROPOSED] ORDER
14
     DARRON ANTJUAN REED,
15                                                         Date: September 6, 2013
                                   Defendant.
                                                           Time 9:00 a.m.
16                                                         Judge: GARLAND E. BURRELL, JR.
17
                                                  STIPULATION
18
            Plaintiff United States of America, by and through its counsel of record, and defendant, by and
19
     through defendant’s counsel of record, hereby stipulate as follows:
20
            1.      By previous order, this matter was set for status on September 6, 2013.
21
            2.      By this stipulation, the parties now move to continue the status conference until October
22
     11, 2013.
23
            3.      The above-referenced matter concerns a petition to revoke the defendant’s term of
24
     supervised release. However, the defendant has also been charged in this district in a complaint in case
25
     no. 13-mj-0267 DAD. That case is set for a preliminary hearing on September 6, 2013, before Magistrate
26
     Judge Brennan. The parties are requesting this continuance because they hope to proceed in both of these
27
     matters at the same time before the District Court.
28

      AMENDED STIPULATION; [PROPOSED] ORDER                1

30
 1          IT IS SO STIPULATED.

 2   Dated: September 3, 2013                     BENJAMIN B. WAGNER
                                                  United States Attorney
 3

 4                                                /s/ PHILIP A. FERRARI
                                                  PHILIP A. FERRARI
 5                                                Assistant United States Attorney

 6
     Dated: September 3, 2013                     /s/ Philip A. Ferrari for
 7                                                MATTHEW SCOBLE, ESQ.
                                                  Counsel for Defendant
 8

 9

10

11          IT IS SO FOUND AND ORDERED.

12          Dated: September 10, 2013

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

      AMENDED STIPULATION; [PROPOSED] ORDER   2

30
